                                                                                    Case 3:15-cv-02047-JM-DHB Document 20 Filed 03/23/16 PageID.80 Page 1 of 4



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                                                                                    5 Facsimile: +1 213 457 8080
                                                                                    6 Attorneys for Defendant
                                                                                      Real Time Resolutions, Inc.
                                                                                    7
                                                                                    8                          UNITED STATES DISTRICT COURT
                                                                                    9                       SOUTHERN DISTRICT OF CALIFORNIA
                                                                                   10
                 A limited liability partnership formed in the State of Delaware




                                                                                   11 MARILEE HALL, individually and on          No.: 3:15-cv-02047-JM-DHB
                                                                                      behalf of all others similarly situated,
                                                                                   12                                            JOINT MOTION RE DISMISSAL OF
                                                                                                           Plaintiff,            ENTIRE ACTION AND ALL
REED SMITH LLP




                                                                                   13                                            PARTIES WITH PREJUDICE
                                                                                            vs.                                  PURSUANT TO FRCP 41(a)(1)
                                                                                   14
                                                                                      REAL TIME RESOLUTIONS, INC.,               Compl. Filed:    September 15, 2015
                                                                                   15
                                                                                                           Defendant.            Honorable Jeffrey T. Miller
                                                                                   16                                            Honorable David H. Bartick
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                                                                                        No.: 3:15-cv-02047-JM-DHB
                                                                                              JOINT MOTION RE DISMISSAL OF ENTIRE ACTION AND ALL PARTIES WITH
                                                                                                            PREJUDICE PURSUANT TO FRCP 41(A)(1)
                                                                                    Case 3:15-cv-02047-JM-DHB Document 20 Filed 03/23/16 PageID.81 Page 2 of 4



                                                                                   1          IT IS HEREBY STIPULATED between Plaintiff MARILEE HALL
                                                                                   2 (“Plaintiff”) and Defendant REAL TIME RESOLUTIONS, INC. (“Defendant”),
                                                                                   3 through their respective counsel of record, that the above-entitled action shall be
                                                                                   4 dismissed in its entirety, with prejudice, pursuant to Rule 41(a)(1)(A)(ii) of the
                                                                                   5 Federal Rules of Civil Procedure. Each party shall bear its own costs and expenses.
                                                                                   6
                                                                                   7 DATED: March 23, 2016                   REED SMITH LLP
                                                                                   8
                                                                                   9                                         By: /s/ Mathew M. Wrenshall
                                                                                                                               Mathew M. Wrenshall
                                                                                   10                                          Attorneys for Defendant
                                                                                                                               REAL TIME RESOLUTIONS, INC.
                 A limited liability partnership formed in the State of Delaware




                                                                                   11
                                                                                   12 DATED: March 23, 2016                  KAZEROUNI LAW GROUP, APC
REED SMITH LLP




                                                                                   13
                                                                                                                             By:    /s/ Matthew Loker
                                                                                   14                                              Matthew Loker
                                                                                                                                   Attorneys for Plaintiff
                                                                                   15                                              MARILEE HALL
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                                                                                        No.: 3:15-cv-02047-JM-DHB               –1–
                                                                                              JOINT MOTION RE DISMISSAL OF ENTIRE ACTION AND ALL PARTIES WITH
                                                                                                            PREJUDICE PURSUANT TO FRCP 41(A)(1)
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                                                                                   1                    CERTIFICATION OF APPROVAL OF CONTENT
                                                                                   2          I, Mathew M. Wrenshall, counsel for Defendant Real Time Resolutions, Inc. in
                                                                                   3 the above-entitled matter, hereby certify that the required parties have approved and
                                                                                   4 accepted the content of the Joint Motion Dismiss Action With Prejudice and that I
                                                                                   5 have obtained authorization from Matthew Loker, counsel for Plaintiff Marilee Hall,
                                                                                   6 for his electronic signature on the Joint Motion.
                                                                                   7
                                                                                        DATED: March 23, 2016                      REED SMITH LLP
                                                                                   8
                                                                                   9
                                                                                                                            By: /s/ Mathew M. Wrenshall
                                                                                   10                                         Mathew M. Wrenshall
                                                                                                                              Attorneys for Defendant
                 A limited liability partnership formed in the State of Delaware




                                                                                   11                                         REAL TIME RESOLUTIONS, INC.
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REED SMITH LLP




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                                                                                              JOINT MOTION RE DISMISSAL OF ENTIRE ACTION AND ALL PARTIES WITH
                                                                                                            PREJUDICE PURSUANT TO FRCP 41(A)(1)
                                                                                    Case 3:15-cv-02047-JM-DHB Document 20 Filed 03/23/16 PageID.83 Page 4 of 4



                                                                                   1                                CERTIFICATE OF SERVICE
                                                                                   2          I hereby certify that on March 23, 2016, I electronically filed the foregoing
                                                                                   3 document with the Clerk of the Court for the United States District Court (Southern
                                                                                   4 District of California) using the CM/ECF system, which will send notification of such
                                                                                   5 filing to all counsel of record who receive CM/ECF notification.
                                                                                   6          Dated this 23rd day of March, 2016.
                                                                                   7
                                                                                   8                                                          /s/ Mathew M. Wrenshall
                                                                                                                                                Mathew M. Wrenshall
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                 A limited liability partnership formed in the State of Delaware




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REED SMITH LLP




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                                                                                              JOINT MOTION RE DISMISSAL OF ENTIRE ACTION AND ALL PARTIES WITH
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